Docusign Envelope ID: DC2E15E4-4FC6-4A64-9FF6-10436E26C148
                      Case 1:20-cv-03010-APM            Document 1212-6        Filed 04/09/25   Page 1 of 5




                                         ‭IN THE UNITED STATES DISTRICT COURT‬
                                              ‭FOR THE DISTRICT OF COLUMBIA‬



              ‭United States of America,‬‭et al.‬‭,‬

                                                  ‭Plaintiffs,‬         ‭Case No. 1:20-cv-03010-APM‬

               ‭v.‬                                                     ‭HON. AMIT P. MEHTA‬

              ‭Google LLC,‬

                                                  ‭Defendant.‬




              ‭State of Colorado,‬‭et al.‬‭,‬

                                                  ‭Plaintiffs,‬         ‭Case No. 1:20-cv-03715-APM‬

               ‭v.‬                                                     ‭HON. AMIT P. MEHTA‬

              ‭Google LLC,‬

                                                  ‭Defendant.‬



                                           ‭DECLARATION OF NOELLE H. LUITEN‬

            ‭I, Noelle H. Luiten, declare as follows:‬

                       ‭1.‬    ‭I am a Senior Product Counsel at Google. I graduated from Columbia Law School‬

            ‭in 2007 and have worked for Google since 2011.‬

                       ‭2.‬    ‭On a day-to-day basis, I provide legal advice to the teams of Google employees‬

            ‭who develop the Chrome browser. I receive confidential and sensitive information about the‬

            ‭development of Chrome, including information relating to product design, strategy, and financial‬

            ‭investments. I have previously been asked to determine how disclosure of confidential‬



                                                                  ‭1‬
Docusign Envelope ID: DC2E15E4-4FC6-4A64-9FF6-10436E26C148
                  Case 1:20-cv-03010-APM              Document 1212-6     Filed 04/09/25      Page 2 of 5




            ‭information relating to Chrome would likely affect Google’s competitive standing, including in‬

            ‭the context of regulatory submissions.‬

                     ‭3.‬    ‭I have been asked to review PRX0204 (GOOG-DOJ-33799335), which is a‬

            ‭confidential document about Chrome. The document includes certain financial forecasts for‬

            ‭2024, including measures of operating expenses, payroll, and net investment attributable to‬

            ‭Chrome. In my experience, these metrics are kept confidential because disclosing them to other‬

            ‭companies that develop web browsers would harm Google’s competitive standing by giving‬

            ‭those companies an insight into certain measures of Google’s expenditures. To my knowledge,‬

            ‭Google does not have access to comparable information about browsers such as Safari and Edge,‬

            ‭and I would expect disclosure of these details to enable companies like Apple and Microsoft to‬

            ‭make more informed strategic decisions in a way that Google could not.‬

                     ‭4.‬    ‭This document also includes a forward-looking statement about a technical and‬

            ‭product strategy for Chrome. In my experience, Google keeps confidential its characterization of‬

            ‭how Chrome may evolve based on new technologies that Google is developing because‬

            ‭disclosing those plans would likewise give other browser developers a one-sided advantage. For‬

            ‭example, disclosing Google’s technical and product strategy at a recent point in time could allow‬

            ‭other companies to copy Google’s objectives or try to be first to market with particular features‬

            ‭or functionality. As with the financial information referenced above, I am not aware of Google‬

            ‭having access to internal strategy objectives recently articulated by other browser companies,‬

            ‭and so I would expect Google to be disadvantaged by a one-sided disclosure.‬

                     ‭5.‬    ‭I have been asked to PRX0215 (GOOG-DOJ-34809242), which is another‬

            ‭confidential document about Chrome. This document includes a more granular forecast of‬

            ‭certain expenditures relating to Chrome in 2024 and corresponding amounts for the four previous‬



                                                              ‭2‬
Docusign Envelope ID: DC2E15E4-4FC6-4A64-9FF6-10436E26C148
                  Case 1:20-cv-03010-APM              Document 1212-6       Filed 04/09/25      Page 3 of 5




            ‭years. For the reasons provided in paragraph 3 above, I would expect disclosure of this‬

            ‭information regarding expenditures to harm Google’s competitive standing in relation to other‬

            ‭browser developers.‬

                     ‭6.‬    ‭This document also includes a confidential breakdown of revenue attributed to‬

            ‭various Google products and services, such as search ads, display ads, and the Chrome‬

            ‭Enterprise Premium offering through Google Cloud. These internal financial metrics are highly‬

            ‭sensitive, and I expect that disclosing them to Google’s competitors would place Google at a‬

            ‭significant disadvantage. For example, the document includes recent metrics (from 2023)‬

            ‭regarding different types of ad revenue generated by Chrome users on Windows devices (where‬

            ‭Chrome competes with Edge and other browsers) and on Apple devices (where Chrome‬

            ‭competes with Safari and other browsers). Additionally, it includes breakdowns by country and‬

            ‭projected revenue from new products, such as Chrome Enterprise Premium. I would expect‬

            ‭device manufacturers, browser developers, advertising platforms, and a range of other‬

            ‭competitors to gain an advantage in strategizing where and how to compete for users if these‬

            ‭details were disclosed. This advantage would again be one-sided, as Google does not have‬

            ‭comparable insights into how competitors’ services are used on other browsers.‬

                     ‭7.‬    ‭I note that Google is not seeking to seal the descriptions of which metrics this‬

            ‭document attempts to measure, the strategic dynamics discussed in the document, or the risks‬

            ‭and opportunities it addresses. The proposed redactions are limited to specific highly sensitive‬

            ‭numbers.‬

                     ‭8.‬    ‭I have been asked to review PRX0217 (GOOG-DOJ-34915154), which is another‬

            ‭confidential document about Chrome. As with the documents discussed above, this one is recent:‬

            ‭it is dated November 6, 2024 and addresses potential plans for 2025 and beyond.‬



                                                               ‭3‬
Docusign Envelope ID: DC2E15E4-4FC6-4A64-9FF6-10436E26C148
                  Case 1:20-cv-03010-APM              Document 1212-6       Filed 04/09/25     Page 4 of 5




                      ‭9.‬    ‭This document likewise includes a granular forecast of certain expenditures‬

            ‭relating to Chrome in 2024 and corresponding amounts for the four previous years. For the‬

            ‭reasons provided in paragraphs 3 and 5 above, I would expect disclosure of this information‬

            ‭regarding expenditures to harm Google’s competitive standing in relation to other browser‬

            ‭developers.‬

                      ‭10.‬   ‭In addition, the document contains a detailed account of “2025 Product Priorities”‬

            ‭and lists of projects under consideration for development in 2025. Disclosure of this information‬

            ‭would contribute to giving competitors a roadmap of what Google may launch in 2025 and‬

            ‭beyond, including new features, marketing efforts, and other objectives. In my experience‬

            ‭receiving information from Chrome engineering and product teams, future product plans are kept‬

            ‭confidential until a decision is made to roll out or officially announce an upcoming change so‬

            ‭that other browser developers cannot copy or otherwise take advantage of Google’s innovations‬

            ‭or strategic decisions.‬

                      ‭11.‬   ‭The document also contains confidential information about Chrome location‬

            ‭strategy. Some of these details are competitively sensitive because they provide competitive‬

            ‭insight into Chrome’s contemplated areas of geographic investment and talent distribution, which‬

            ‭a competing browser developer could use to their advantage in identifying browser talent to hire‬

            ‭away.‬

                      ‭12.‬   ‭I have been asked to review PRX0279 (GOOG-DOJ-33806054), which is a‬

            ‭confidential document about ChromeOS. The document contains a few commercially sensitive‬

            ‭metrics relating to expenses, revenue, and profitability for certain Chromebooks. Disclosing‬

            ‭these specific dollar amounts and percentages would give a one-sided advantage to other‬

            ‭companies such as Microsoft that sell computers by providing recent metrics on the cost‬



                                                               ‭4‬
Docusign Envelope ID: DC2E15E4-4FC6-4A64-9FF6-10436E26C148
                  Case 1:20-cv-03010-APM              Document 1212-6           Filed 04/09/25   Page 5 of 5




            ‭structure of the Chromebooks referenced in the documents. This may affect competitors’ pricing‬

            ‭decisions and other strategic determinations.‬

                     ‭13.‬   ‭Consistent with paragraph 7 above, I note that Google is not seeking to seal the‬

            ‭descriptions of which metrics this document attempts to measure, the strategic dynamics‬

            ‭discussed in the document, or the risks and opportunities it addresses. The proposed redactions‬

            ‭are limited to specific highly sensitive numbers.‬

                                                      ‭*‬    ‭*‬         ‭*‬   ‭*‬

            ‭I declare under penalty of perjury that the foregoing is true and correct.‬

                              8
            ‭Executed on this ____ day of April 2025, in _______________________________.‬
                                                          Seattle, WA



                                                                          ‭ _________________________‬
                                                                          _
                                                                          ‭Noelle H. Luiten‬




                                                                   ‭5‬
